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                                   No. 6:24-cv-00306

                              State of Texas et al.,
                                    Plaintiﬀs,
                                        v.
              United States Department of Homeland Security et al.,
                                   Defendants.


                                      ORDER

              In this case, 16 States challenge a rule issued by the Depart-
          ment of Homeland Security that creates a process allowing for-
          eign nationals to obtain “parole in place” under the immigration
          laws if they are unlawfully present in this country and are qualify-
          ing spouses or stepchildren of U.S. citizens. Implementation of
          Keeping Families Together, 89 Fed. Reg. 67,459 (Aug. 20, 2024)
          (“KFT Rule”).
              To be eligible for parole under the KFT Rule, foreign nationals
          must (1) be unlawfully present in this country without admission
          or parole; (2) have a valid marriage to a U.S. citizen dating to on
          or before June 17, 2024, or have a parent who entered into such a
          marriage before the applicant’s 18th birthday; (3) have been con-
          tinuously present in this country either since June 17, 2014, in the
          case of a spouse of a U.S. citizen (i.e., for more than ten years), or
          since June 17, 2024, and have been unmarried and under the age
          of 21 as of that date, in the case of a stepchild of a U.S. citizen;
          (4) have no disqualifying criminal history; and (5) submit biomet-
          rics and pass national-security and public-safety vetting. Id. at
          67,469–70.
              Receiving “parole in place” under the KFT Rule “enabl[es]
          paroled noncitizens to work lawfully in the United States.” Id. at
          67,462. And it “remove[s] a barrier to an immigration benefit” by
          making the foreign national “able to immediately apply for LPR
          status”—commonly called a green card—“without needing to


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          wait for an immigrant visa” that generally requires departing from
          this country, applying at a U.S. consulate abroad, and waiting a
          statutorily prescribed time period calculated based on the foreign
          national’s length of unlawful presence in the United States. Id. at
          67,475; accord id. at 67,460 & n.10 (describing the depart-and-
          wait-abroad process). Departing from this country for those stat-
          utory waiting periods can impede family unity; avoiding that re-
          quirement for a green card is thus a purpose of the rule. Id. at
          67,460. Familiarity with the rule’s details is presumed.
              Plaintiffs moved for a temporary restraining order, a prelimi-
          nary injunction, and a stay of the rule’s implementation. Doc. 3.
          Defendants appeared in the case and proposed a scheduling order
          with dates for jurisdictional discovery and, contingently, dates for
          the filing of an administrative record and responsive briefing on
          the merits of injunctive relief. Doc. 9 at 11–14. The court issued a
          scheduling order that both allows early discovery and sets dead-
          lines for the administrative record and for accelerated briefing on
          preliminary and permanent injunctive relief. Doc. 27 at 6–9.
              The court also ordered “temporary, injunctive relief to pre-
          serve the status quo pending prompt review of [the] agency’s ac-
          tion” by staying the issuance of parole under the rule, but not the
          agency’s acceptance and review of applications for that benefit.
          Id. at 2, 5; see 5 U.S.C. § 705 (authorizing “the reviewing court”
          to issue “appropriate process” to “preserve status or rights” dur-
          ing judicial review by preventing irreparable injury); Scripps-How-
          ard Radio v. FCC, 316 U.S. 4, 10 & n.4 (1942) (recognizing the
          traditional “power in a reviewing court to stay the enforcement of
          an administrative order,” as “judicial review would be an idle cer-
          emony if the situation were irreparably changed before the correc-
          tion could be made”) (citing the All Writs Act); Sampson v. Mur-
          ray, 415 U.S. 61, 68 n.15 (1974) (stating that 5 U.S.C. § 705 was
          primarily intended to reflect existing law under Scripps-Howard).
              Consistent with Federal Rule of Civil Procedure 65(d)(1), the
          court stated the acts prohibited by the order (the issuance of pa-
          role under the rule), the specific term of the order (limited to 14


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          days, set with reference to Rule 65(b)(2) even though the order
          was issued after defendants appeared and not ex parte), and the
          reasons why the order issued (the court’s first-blush review of the
          merits weighed in light of the relative balance of the short-term
          equities). Id. at 3–5.
              Defendants now move for the court to lift its order temporarily
          staying and enjoining issuance of parole under the rule. Doc. 47.
          That filing also opposes plaintiffs’ pending motion for further in-
          junctive relief. Id.; see Doc. 3. The court’s temporary, injunctive
          order expires at the end of September 9, 2024. Doc. 27 at 5.
                                     Discussion
              Resolution of a motion for a TRO is committed to the equita-
          ble discretion of the court and rests on considerations of irrepara-
          ble injury to the plaintiff without a TRO, the burden to the de-
          fendant of a TRO, the public interest, and the probability of plain-
          tiff’s ultimate success. Canal Auth. of Fla. v. Callaway, 489 F.2d
          567, 572 (5th Cir. 1974). The substantiality of the likelihood of
          success required for a TRO “varies with the relative balance of
          threatened hardships facing each of the parties.” Id. at 576. If the
          plaintiff will be more prejudiced by the denial of a TRO than
          would the defendant by its grant, that “does not remove the need
          to show some probability of winning on the merits” but “does
          lower the standard that must be met.” Id. See generally Charles
          Alan Wright et al., Federal Practice & Procedure § 2951 (3d ed.)
          (“The necessary persuasiveness of this showing varies, however,
          and often may depend upon the facts in a particular case.”)
              That circuit precedent is consistent with longstanding Supreme
          Court precedent holding that, when the equities support preserv-
          ing the status quo for a short period when judicial review begins,
          granting a temporary injunction of agency action requires only find-
          ing that plaintiff’s claim presents “a serious question.” Virginian
          Ry. Co. v. United States, 272 U.S. 658 (1926). There, the Supreme
          Court held that, when an application for a stay of agency action
          pending judicial review “seems to present to the court a serious
          question, the fact that irreparable injury may otherwise result to


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          the plaintiff may, as an exercise of discretion, alone justify grant-
          ing the temporary stay until there is an opportunity for adequate
          consideration of the matters involved.” Id. at 673.
               Thus, as the Fifth Circuit has explained, if the potential merits
          of the case and the balance of the equities support a temporary
          restraint, a court may freeze the status quo even if “[i]t is not at
          all clear that the court . . . [will] grant[] a preliminary injunction.”
          Connell v. Dulien Steel Prods., Inc., 240 F.2d 414, 418 (5th Cir.
          1957) (“Orderly procedure requires that the trial court be given
          the opportunity of passing on these legal matters at the time of
          the hearing of the motion for preliminary injunction.”). Or, as this
          court explained in its prior order, a temporary stay or restraining
          order does not require determining—without the opportunity for
          legal and factual development at a prompt hearing on a prelimi-
          nary injunction—that a final judgment in plaintiff’s favor is more
          likely than not. Doc. 27; Virginian Ry., 272 U.S. at 673; Canal
          Auth., 489 F.2d at 572; Connell, 240 F.2d at 418; Wright, supra, at
          § 2951. Defendants’ only suggestion to the contrary relies on Win-
          ter v. NRDC, 555 U.S. 7 (2008), but that decision concerned only
          a preliminary injunction and did not discuss a § 705 stay or tem-
          porary restraining order, much less overrule Virginian Railway.
              Under those standards, it was and remains proper to tempo-
          rarily stay parole issuance under the challenged rule until an ex-
          pedited hearing on the motion for a preliminary injunction. The
          court does not calculate any particular numerical likelihood of
          plaintiffs’ claims ultimately prevailing after development of the
          legal and factual arguments. But plaintiffs’ claims are serious and
          substantial enough to justify considering the irreparable harm and
          burdens of either withholding or imposing a temporary stay. Doc.
          27 at 3–4. Defendants’ motion to lift the temporary injunction
          shows that defendants, too, have serious and substantial argu-
          ments warranting close attention. The court had already consid-
          ered many of the authorities cited in defendants’ motion because
          they were cited in the rule itself, and the court will continue to
          proceed on an expedited basis. But that motion does not



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          significantly change the court’s conclusion about the equities
          bearing on the need to preserve the status quo ante for a short
          period.
               As to those equities, for the reasons noted in the court’s prior
          order, an unlawful grant of parole strikes the court as very difficult
          to unwind after the fact given the immediate incurring of reliance
          interests after parole is granted. See Doc. 27 at 5. It is that grant of
          parole that underlies plaintiffs’ claimed injury from the continued
          presence of foreign nationals not authorized to be in the country.
          Indeed, the rule itself appears to accept that at least some of those
          foreign nationals would depart the country without parole—caus-
          ing the lack of family unity that the rule expressly intends to alle-
          viate.
              Conversely, the burden to the government of a relatively short
          restraint on issuing parole under the rule appears much smaller.
          Applications for parole under the rule can, with minimal adminis-
          trative disruption, be processed as usual and simply held for ap-
          proval, which can then proceed if the government prevails after
          the upcoming hearing on the facts and the law. And, as noted,
          given that spouses eligible for relief under the rule must have been
          continuously physically present in this country without admission
          or parole for ten years, a further restraint on parole issuance for a
          period of time (a few weeks) that is much shorter than the poten-
          tial three- or ten-year periods of waiting abroad required for a
          green card does not strike the court as likely to materially change
          foreign nationals’ decisions regarding remaining in this country.
          See id.
              Given the alignment of the equities at this point, plaintiffs’
          likelihood of success on the merits is substantial enough to justify
          a § 705 stay and temporary restraining order limiting parole issu-
          ance under the rule, as opposed to the receipt and review of ap-
          plications for that parole. As before, the court does not express
          any opinion on whether plaintiffs are more likely than not to pre-
          vail in a final judgment. Doc. 27 at 4.




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              For those reasons, defendants’ motion to lift the court’s order
          imposing a 14-day, temporary stay and injunction (Doc. 47) is de-
          nied. To be clear, defendants and their officers, agents, servants,
          and employees are temporarily restrained and enjoined from issu-
          ing parole under the challenged rule, see 89 Fed. Reg. 67,459, but
          not from receiving and reviewing applications for that relief under
          the rule.
              The rigor of defendants’ recent 60-page filing, however, does
          convince the court that a hearing on the facts and the law can be
          scheduled on an even more accelerated schedule than previously
          anticipated, which the court sets below. The court also extends its
          temporary stay and restraining order for an additional 14-day pe-
          riod, such that it expires at the end of September 23, 2024.
              The court’s scheduling order, Doc. 27 at 6–9, is modified in
          the following particulars:
             •   Early discovery shall be completed by September 11, 2024,
                 and the notice and response periods are shortened to 3 cal-
                 endar days.
             •   The deadline for an omnibus motion for any preliminary
                 relief or for permanent relief in either side’s favor (on sum-
                 mary judgment or at a bench trial) is September 13, 2024.
                 Pursuant to the court’s prior order, plaintiffs’ omnibus
                 motion will replace their pending motion for a preliminary
                 injunction. Each side’s omnibus motion must not exceed
                 60 pages, exclusive of attachments. All parties represented
                 by the same counsel may not file more than one such mo-
                 tion.
             •   The deadline for each side’s response to the other side’s
                 omnibus motion is September 16, 2023. Each side’s re-
                 sponse shall not exceed 60 pages, exclusive of attachments.
                 All parties represented by the same counsel may not file
                 more than one such response.
             •   The parties are excused from filing reply briefs in support
                 of their motions and may instead raise matters in reply at
                 the motion hearing.

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             •   The consolidated hearing on the omnibus motions and, if
                 necessary, bench trial to resolve factual issues is scheduled
                 for September 18, 2024, at 9:00 a.m. in Tyler, Texas. The
                 parties are ordered to confer and agree on a process for ex-
                 changing any exhibit and witness lists.
                                     Conclusion
             Plaintiffs’ motion for injunctive relief before final judgment
          (Doc. 3) is granted to the extent of the temporary restraining order
          and stay described above and otherwise remains pending. Defend-
          ants’ motion to lift the court’s temporary, injunctive relief (Doc.
          47) is denied. The court’s scheduling order (Doc. 27 at 6–9) is
          modified to the extent specified above.
                                 So ordered by the court on September 4, 2024.



                                                J. C A M PB EL L B A RK ER
                                                United States District Judge




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